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                       IN THE UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

 COLLIN BOGLE,

         Plaintiff,                                          Case No.: 1:24-cv-00574

 v.                                                          Judge Sara L. Ellis

 THE PARTNERSHIPS AND UNINCORPORATED                         Magistrate Judge Young B. Kim
 ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,

         Defendants.


                                   NOTICE OF DISMISSAL

        Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff hereby files this Notice of Voluntary

Dismissal, without prejudice, as to the following Defendant(s) identified on Schedule A of the

Complaint:

                NO.                                  DEFENDANT
                 50                                  CRIOEVN-US
                 17                                     JKerjike
                  4                                      Beisaqi
                 21                                     Lijahoo
                  2                              YaYiYo Gift & Decoration
                 84                                   Kara Clothing


DATED: March 22, 2024                                Respectfully submitted,

                                                     /s/ Keith A. Vogt
                                                     Keith A. Vogt (Bar No. 6207971)
                                                     Keith Vogt, Ltd.
                                                     33 W. Jackson Blvd., #2W
                                                     Chicago, Illinois 60604
                                                     Telephone:312-971-6752
                                                     E-mail: keith@vogtip.com

                                                     ATTORNEY FOR PLAINTIFF



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                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the above and foregoing
document was electronically filed on March 22, 2024 with the Clerk of the Court using the
CM/ECF system, which will automatically send an email notification of such filing to all registered
attorneys of record.

                                                     /s/ Keith A. Vogt
                                                     Keith A. Vogt




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